      Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 1 of 13 PageID #:1




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

National Fire Insurance Company of                    )
Hartford,                                             )
                                                      )
                 Plaintiff,                           )
                                                      )
       v.                                             )
                                                      )
Continental Western Insurance Company; and            )
Company; Environmental Lighting Service, LLC,         )
                                                      )
                 Defendants.                          )


             NATIONAL FIRE INSURANCE COMPANY OF HARTFORD’S
                 COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, National Fire Insurance Company of Hartford (“National Fire”), by its attorneys

Litchfield Cavo LLP bring this Complaint seeking a declaration of the parties’ rights and

obligations under certain contracts of insurance, and states as follows:

                                     NATURE OF THE SUIT

       1.        This is a declaratory judgment action brought pursuant to 28 U.S.C. § 2201 and 28

U.S.C. § 1332.

       2.        An actual and justiciable controversy exists between National Fire and Continental

Western Insurance Company (“Continental Western”). This action seeks to resolve a dispute as to

whether a primary policy and umbrella policy of insurance issued by Continental Western

obligates Continental Western to afford coverage for the contractual liability of its insured,

Environmental Lighting Service, LLC (“ELS”), and whether National Fire is entitled to

reimbursement or recoupment of its payment under a Funding Agreement for the settlement of a

lawsuit captioned Kyle Frost v. Forbes Todd Automotive, LLC; Forbes Todd Automotive II, LLC;

                                                 1
      Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 2 of 13 PageID #:2




Forbes Todd Group, LLC; Clark Richardson; Volkswagen Group of America, Inc.; and Lee Lewis

Construction, Inc., Case No. CC-20-01626-D (Dallas County, Texas) (“Underlying Lawsuit”).

                           PARTIES, JURISDICTION, AND VENUE

        3.      Plaintiff National Fire is an Illinois corporation with its principal place of business

located in Chicago, Illinois.

        4.      Defendant Continental Western is an Iowa corporation with its principal place of

business in Iowa.

        5.      Defendant ELS is a single-member LLC organized under the laws of Texas. Its only

member, David Bailey II, is located in Mississippi. ELS is a necessary party to this declaratory

judgment action and has been joined solely to be bound by any judgment rendered in this case. No

specific relief is sought against ELS. In the event ELS stipulates and agrees to be bound by the

resolution of this case, the Plaintiff will seek to voluntarily dismiss it from this action.

        6.      Diversity jurisdiction exists. The Plaintiff and the Defendants are citizens of

different states and the amount in controversy exceeds $75,000.

        7.      Venue is proper in this district as some or all of the events giving rise to this dispute

took place within this district.

                          UNDERLYING LAWSUIT AND INCIDENT

        8.      On March 27, 2020, Kyle Frost initiated the Underlying Lawsuit by filing a

complaint in the Circuit Court of Dallas County, Texas.




                                                   2
      Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 3 of 13 PageID #:3




       9.      On January 25, 2021, Kyle Frost filed a First Amended Petition in the Underlying

Lawsuit (the “Underlying Complaint”). A true and correct copy of the Underlying Complaint is

attached as Exhibit 1.

       10.     In the Underlying Complaint, Kyle Frost sought damages he alleges resulted from

physical injuries he sustained on January 29, 2020, when he was performing work at the Audi

Dallas dealership located at 5033 Lemmon Avenue, Dallas, Texas 75209 (“Audi Dallas”).

       11.     In the Underlying Complaint, Kyle Frost alleges that, “as he was performing his

work, he was pulled off the ground by the garage door, becoming trapped by the door as it rolled

up, and ended up falling to the concrete.” Ex. 1 ¶ 10.

       12.     Kyle Frost sought damages from, inter alia, Lee Lewis Construction, Inc. (“Lee

Lewis”).

       13.     Lee Lewis is a general contractor who entered into a subcontract with ELS on

November 28, 2017 for work to be performed at Audi Dallas (the “Subcontract Agreement”). A

true and correct copy of the Subcontract Agreement is attached as Exhibit 2.

       14.     Article 10 of the Subcontract Agreement states, in part, the following:

       10.1    Contractor [Lee Lewis] shall not be liable for any loss or casualty incurred
               or caused by Subcontractor [ELS]. Subcontractor shall maintain full and
               complete insurance on the Work until final acceptance of the Project.
               Subcontractor assumes all risk of loss for all of its Work regardless whether
               Subcontractor had previously been paid for the Work, and shall restore or
               repair any of Subcontractor’s Work or material caused or resulting from
               casualties, harm, or risks not insured under any standard casualty or
               builder’s risk policy which might be provided by Contractor.
       10.2    As a further part of Subcontractor’s overall obligation to protect others and
               hold Contractor harmless from all liabilities, Subcontractor shall obtain,
               before commencement, and maintain until final acceptance of the Project,
               full insurance coverage as may be specified in this Agreement or any
               contract or document incorporated herein, and in amounts not less than
               those so specified. All insurance shall be procured at Subcontractor’s
               expense and shall have Owner and Contractor listed as an additional

                                                 3
Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 4 of 13 PageID #:4




        insured. All insurance shall be maintained in the form, coverages and limits
        and with a company satisfactory to Contractor and having a Best’s rating to
        A+. All certificates of insurance must be filed with Contractor five (5) days
        prior to scheduled commencement of the Work. See attached EXHIBIT “C”
        for a sample of the certificate of insurance requirement. In no case, however,
        shall Subcontractor procure and maintain less than the following insurance
        coverages:


                                  *       *       *
               (2)     Comprehensive General Liability Insurance including
                       coverage for Explosion, Hazardous Material, and Collapse
                       or Underground.
                       Liability Insurance and Completed Operations Coverage
                       with minimum limits of:
                       Commercial General Liability
                       $1,000,000      Each Occurrence
                       $2,000,000      General Aggregate (per project)
                       $2,000,000      Products/Completed Operations Aggregate
                       $1,000,000      Personal and Advertising Injury
                       Any exceptions to the coverage limits stated herein must be
                       approved in advance in writing by an officer of Contractor.
                       Policy should include Contractor as additional insured as
                       primary and non-contributory including ongoing and
                       completed operations, and a waiver of subrogation. Policy
                       must contain contractual liability on a per project aggregate
                       basis.


                                  *       *       *
 10.4   To the fullest extent permitted by law, Subcontractor is liable for and will
        defend, indemnify, hold harmless and reimburse Contractor, its surety,
        Owner, Architect (any other design professionals retained by either Owner
        or Architect), their representatives and employees, officers, agents, invitees
        and licensees of the same (collectively “Indemnitees”), against:


                                  *       *       *
        (c)    all liabilities, claims and demands for personal or bodily injury
               (including death) or property damage (real, personal, tangible or

                                          4
      Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 5 of 13 PageID #:5




                         intangible) to any of the Work of Subcontractor or any other work
                         or property of any other party, including injury of death to
                         Subcontractor’s employees, together with any resulting costs, legal
                         fees and expert/consulting fees, arising out of or caused by any act
                         or omission of the Subcontractor or any of its subcontractors, their
                         agents or employees;
                                                *       *     *
                  (e)    all costs, damages, expenses and liabilities Indemnitees may sustain
                         by reason of the failure of Subcontractor to indemnify any of the
                         Indemnitees as required herein and elsewhere in the Subcontract;
                         and
                  (f)    all other costs, damage, expenses and liabilities (including all
                         resulting costs, legal fees and expert/consultant fees) for which
                         Contractor is liable to Owner under its Agreement, or to any third
                         party who may be affected by construction of the Project on account
                         of or in any way related to Subcontractor’s Work.
       10.4.1            THE    ABOVE      REFERENCED    DEFENSE   AND
                         INDEMNIFICATION OBLIGATION SHALL APPLY EVEN
                         THOUGH THE MATTER IS THE RESULT OF THE
                         CONCURRENT NEGLIGENCE OF ANY OR ALL OF THE
                         INDEMNITEES           (INCLUDING        OTHER
                         SUBCONTRACTORS OR SUBCONTRACTOR) TO THE
                         EXTENT (A) THE CLAIM INVOLVES BODILY INJURY OR
                         DEATH OF AN EMPLOYEE OF SUBCONTRACTOR, ITS
                         AGENTS OR ANY OF ITS SUBCONTRACTORS OF ANY
                         TIER OR (B) APPLICABLE LAW ALLOWS DEFENSE AND
                         INDEMNITY FOR CONCURRENT NEGLIGENCE OF THE
                         INDEMNITEES FOR OTHER CLAIMS FOR DAMAGES OR
                         INJURY TO PERSONS OR PROPERTY IN ADDITION TO
                         THOSE SET FORTH IN SUBPART (A) ABOVE.
                                        *      *        *
Ex. 2 pp. 8-11.

       15.        Kyle Frost was employed by ELS as of January 29, 2020.

       16.        Kyle Frost as acting within the scope of his employment by ELS when he was

injured on January 29, 2020.

       17.        Kyle Frost’s injuries were caused by ELS failing to turn off the power to the

garage door before resuming work.

                                                    5
         Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 6 of 13 PageID #:6




                                        INSURANCE POLICIES

          18.      National Fire issued named insured Lee Lewis Construction, Inc. a general liability

insurance policy under Policy No. 6075704890 with effective dates January 1, 2020 to January 1,

2021 (the “National Fire Policy”).

          19.      Continental Western issued named insured Environmental Lighting Service LLC a

general liability insurance policy under Policy No. CPA 4269989-46 with effective dates May 15,

2019 to May 15, 2020 (the “Continental Western Primary Policy”). A true and correct copy of the

Continental Western Primary Policy is attached as Exhibit 3.

          20.      The Continental Western Primary Policy is subject to a $1,000,000 per occurrence

limit and a $2,000,000 aggregate limit.

          21.      The Continental Western Primary Policy contains the following insuring agreement

applicable to liability coverage, quoted in part:

          SECTION I – COVERAGES
          COVERAGE A – BODILY INJ URY AND PROPERTY DAMAGE LIABILITY
          1. Insuring Agreement
                a. We will pay those sums that the insured becomes legally obligated to pay as
                damages because of "bodily injury" or "property damage" to which this
                insurance applies. We will have the right and duty to defend the insured against
                any "suit" seeking those damages. However, we will have no duty to defend the
                insured against any "suit" seeking damages for "bodily injury" or "property
                damage" to which this insurance does not apply.
Ex. 3.

          22.      The Continental Western Primary Policy contains the following provision

regarding contractual liability coverage:

          This insurance does not apply to:



                                                     6
         Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 7 of 13 PageID #:7




          b. Contractual Liability
          "Bodily injury" or "property damage" for which the insured is obligated to pay
          damages by reason of the assumption of liability in a contract or agreement. This
          exclusion does not apply to liability for damages:
                (1) That the insured would have in the absence of the contract or agreement;
                or
                (2) Assumed in a contract or agreement that is an "insured contract", provided
                the "bodily injury" or "property damage" occurs subsequent to the execution of
                the contract or agreement. Solely for the purposes of liability assumed in an
                "insured contract", reasonable attorneys' fees and necessary litigation
                expenses incurred by or for a party other than an insured are deemed to be
                damages because of "bodily injury" or "property damage", provided:
                   (a) Liability to such party for, or for the cost of, that party's defense has
                   also been assumed in the same "insured contract"; and
                   (b) Such attorneys' fees and litigation expenses are for defense of that party
                   against a civil or alternative dispute resolution proceeding in which
                   damages to which this insurance applies are alleged.
Ex. 3.

          23.      The Continental Western Primary Policy’s definition of “insured contract” is found

in the Amendment of Insured Contract Definition, which states in relevant part:

          “Insured contract” means:
                                             *       *       *
          f. That part of any other contract or agreement pertaining to your business
          (including an indemnification of a municipality in connection with work performed
          for a municipality) under which you assume the tort liability of another party to
          pay for "bodily injury" or "property damage" to a third person or organization,
          provided the "bodily injury" or "property damage" is caused, in whole or in part,
          by you or by those acting on your behalf. However, such part of a contract or
          agreement shall only be considered an "insured contract" to the extent your
          assumption of the tort liability is permitted by law. Tort liability means a liability
          that would be imposed by law in the absence of any contract or agreement.
Ex. 3.

          24.      Continental Western also issued named insured Environmental Lighting Service

LLC a commercial liability umbrella insurance policy under Policy No. CPA 42699889-46 with


                                                     7
         Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 8 of 13 PageID #:8




effective dates May 15, 2019 to May 15, 2020 (the “Continental Western Umbrella Policy”). A

true and correct copy of the Continental Western Umbrella Policy is attached as Exhibit 4.

          25.      The Continental Western Umbrella Policy afford a $10,000,000 per occurrence

limit.

          26.      The Continental Western Umbrella Policy contains the following insuring

agreement applicable to liability coverage, quoted in part:

          SECTION I – COVERAGES
          COVERAGE A – BODILY INJ URY AND PROPERTY
          DAMAGE LIABILITY
          1. Insuring Agreement
                a. We will pay on behalf of the insured the "ultimate net loss" in excess of the
                "retained limit" because of "bodily injury" or "property damage" to which this
                insurance applies. We will have the right and duty to defend the insured against
                any "suit" seeking damages for such "bodily injury" or "property damage"
                when the "underlying insurance" does not provide coverage or the limits of
                "underlying insurance" have been exhausted. When we have no duty to defend,
                we will have the right to defend, or to participate in the defense of, the insured
                against any other "suit" seeking damages to which this insurance may apply.
                However, we will have no duty to defend the insured against any "suit" seeking
                damages for "bodily injury" or "property damage" to which this insurance does
                not apply.
Ex. 4.

          27.      The Continental Western Umbrella Policy contains the following provision

regarding contractual liability coverage:

          This insurance does not apply to:

          b. Contractual Liability
          "Bodily injury" or "property damage" for which the insured is obligated to pay
          damages by reason of the assumption of liability in a contract or agreement. This
          exclusion does not apply to liability for damages:



                                                      8
         Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 9 of 13 PageID #:9




                (1) That the insured would have in the absence of the contract or agreement;
                or
                (2) Assumed in a contract or agreement that is an "insured contract", provided
                the "bodily injury" or "property damage" occurs subsequent to the execution of
                the contract or agreement. Solely for the purposes of liability assumed in an
                "insured contract", reasonable attorneys' fees and necessary litigation
                expenses incurred by or for a party other than an insured are deemed to be
                damages because of "bodily injury" or "property damage", provided:
                   (a) Liability to such party for, or for the cost of, that party's defense has
                   also been assumed in the same "insured contract"; and
                   (b) Such attorneys' fees and litigation expenses are for defense of that party
                   against a civil or alternative dispute resolution proceeding in which
                   damages to which this insurance applies are alleged.
Ex. 4.

          28.      The Continental Western Umbrella Policy provides the following definition of an

“insured contract”, quoted in part:

          “Insured contract” means:
                                             *       *       *
          g. That part of any other contract or agreement pertaining to your business
          (including an indemnification of a municipality in connection with work performed
          for a municipality) under which you assume the tort liability of another party to
          pay for "bodily injury" or "property damage" to a third person or organization.
          Tort liability means a liability that would be imposed by law in the absence of any
          contract or agreement.
Ex. 4.

          29.      The Continental Western Umbrella Policy’s Declarations’ Schedule of underlying

insurance lists the Continental Western Primary Policy. Exhibit 4.

         NATIONAL FIRE - CONTINENTAL WESTERN FUNDING AGREEMENT

          30.      In a letter dated May 24, 2021, National Fire, as Lee Lewis’s general liability

carrier, tendered defense and indemnity for the Underlying Lawsuit to Continental Western.

Exhibit 5.
                                                     9
    Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 10 of 13 PageID #:10




       31.     In a letter dated August 27, 2021, Berkley Southeast Insurance Group (“Berkley”),

as representative for and on behalf of Continental Western, agreed to provide Lee Lewis with a

complete defense in the Underlying Lawsuit subject to reservation of rights under the primary

policy issued by Continental Western. Exhibit 6.

       32.     In this August 27, 2021, letter, Berkley stated that it was providing the defense

under the theory that Lee Lewis was a contractual indemnitee under the Continental Western

Primary Policy, but denied that Lee Lewis was an additional insured under the Continental Western

Primary Policy.

       33.     Continental Western did not reserve any rights under its umbrella policy.

       34.     On January 26, 2024, Continental Western reached a settlement in principle with

Kyle Frost on behalf of all underlying defendants.

       35.     On February 26, 2024, National Fire and Berkley, on behalf of Continental

Western, entered into a funding agreement to effectuate temporary payment of a settlement

reached in the Underlying Lawsuit (the “Funding Agreement”). A true and correct copy of this

Funding Agreement is attached as Exhibit 7.

       36.     Pursuant to this Funding Agreement, National Fire agreed to pay $1,000,000 for

the settlement and Continental Western agreed to pay $1.5 million between its primary policy and

umbrella policy.

       37.     National Fire and Continental Western also agreed that in the Funding Agreement

that the parties were deferring their coverage disputes and that all coverage claims were reserved.

       38.     On May 7, 2024, the Underlying Lawsuit was dismissed with prejudice pursuant to

settlement.

                       COUNT I – DECLARATORY JUDGMENT
      (The Funding Agreement Requires ELS to Indemnify and Hold Lee Lewis Harmless)

                                                10
    Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 11 of 13 PageID #:11




          39.      Plaintiff repeats and re-alleges the allegations of Paragraphs 1 - 38 as if fully set

forth herein.

          40.      Pursuant to the subcontract between ELS and Lee Lewis, ELS has a duty to, inter

alia, indemnify and hold harmless Lee Lewis against all liabilities, claims and demands for

personal or bodily injury arising out of or caused by any act of omission of the Subcontractor, i.e.,

ELS, or any of the Subcontractor’s subcontractors, agents or employees.

                            COUNT II – DECLARATORY JUDGMENT
                            (Continental Western’s primary policy provides
                         contractual liability coverage under its primary policy)
          41.      Plaintiff repeats and re-alleges the allegations of Paragraphs 1 - 40 as if fully set

forth herein.

          42.      Plaintiff seeks a declaration that:

                a. The Subcontract is an “insured contract” under the Continental Western’s primary

                   policy; and

                b. Continental Western has a duty to indemnify ELS under the primary policy for

                   liability arising out of the Subcontract.

                           COUNT III – DECLARATORY JUDGMENT
                            (Continental Western’s primary policy provides
                         contractual liability coverage under its primary policy)

   43. Plaintiff repeats and re-alleges the allegations of Paragraphs 1 - 41 as if fully set forth

herein.

   44. Plaintiff seeks a declaration that:

                a. The Subcontract is an “insured contract” under the Continental Western’s umbrella

                   policy; and




                                                     11
    Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 12 of 13 PageID #:12




            b. Continental Western has a duty to indemnify ELS under the umbrella policy for

                liability arising out of the Subcontract.

                       COUNT IV – REIMBURSEMENT/RECOUPMENT

       1.       Plaintiff repeats and re-alleges the allegations of Paragraphs 1 - 44 as if fully set

forth herein.

       2.       National Fire is entitled to recoup or receive reimbursement from Continental

Western for the $1 million indemnity payment made pursuant to the Funding Agreement.

                                     PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, National Fire Insurance Company of Hartford

respectfully request this Honorable Court grant it the following relief:

   (A) Declaring that, pursuant to the Subcontract, ELS was required to indemnify and hold

       harmless Lee Lewis against all liabilities, claims and demands for personal or bodily injury

       arising out of or caused by any act of omission of ELSor any of its subcontractors, their

       agents or employees;

   (B) Declaring that the Subcontract is an “insured contract” under the Continental Western

       Primary Policy;

   (C) Declaring that Continental Western has a duty to indemnify ELS for its contractual liability

       to Lee Lewis under the Continental Western Primary Policy;

   (D) Declaring that the Subcontract is an “insured contract” under the Continental Western

       Umbrella Policy;

   (E) Declaring that Continental Western has a duty to indemnify ELS for its contractual liability

       to Lee Lewis under the Continental Western Umbrella Policy;


                                                  12
Case: 1:24-cv-05744 Document #: 1 Filed: 07/09/24 Page 13 of 13 PageID #:13




(F) Holding that National Fire is entitled to recoupment or reimbursement from Continental

   Western for all settlement payments made by National Fire pursuant to the Funding

   Agreement; and

(G) Any other and further relief that this Court deems appropriate.

                                                 Respectfully Submitted,

                                         By:     /s/Thomas M. Crawford
                                                 Attorney for Plaintiff National Fire
                                                 Insurance Company of Hartford

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                                            13
